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                            UNITED STATES DISTRICT COURT
 8                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
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10   LARRY LLOYD,                                     CASE NO. C17-5627 BHS

                             Plaintiff,               ORDER DENYING PLAINTIFF’S
11
            v.                                        MOTION AND ADOPTING
12                                                    REPORT AND
     MARK RUFENER, et al.,                            RECOMMENDATION
13                           Defendantd.
14

15          This matter comes before the Court on the Report and Recommendation (“R&R”)
16   of the Honorable Theresa L. Fricke, United States Magistrate Judge, Dkt. 117, Plaintiff
17   Larry Lloyd’s (“Lloyd”) motion for a courtesy copy of his second amended complaint,
18   Dkt. 127, and Lloyd’s objections to the R&R, Dkt. 130.
19          On April 15, 2020, Judge Fricke issued the R&R recommending that the Court
20   grant Lloyd’s motion to file an overlength brief, deny Defendants’ request to strike
21   Lloyd’s response as untimely, and grant Defendants’ motion to dismiss. Dkt. 117. On
22   June 23, 2020, Lloyd filed a motion for a courtesy copy of his second amended


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 1   complaint. Dkt. 127. On June 24, 2020, the Court granted Lloyd’s motion for an

 2   extension of time and renoted the R&R. Dkt. 130. On July 17, 2020, Lloyd filed new

 3   objections. Dkt. 130. On August 5, 2020, Defendants responded. Dkt. 131. On August

 4   7, 2020, Lloyd replied. Dkt. 132.

 5          Regarding Lloyd’s motion, he fails to explain why he needs a courtesy copy of his

 6   second amended complaint, which is an accessible document on the electronic docket.

 7   Thus, the Court denies the motion.

 8          Regarding Lloyd’s objections, the district judge must determine de novo any part

 9   of the magistrate judge’s disposition that has been properly objected to. The district judge

10   may accept, reject, or modify the recommended disposition; receive further evidence; or

11   return the matter to the magistrate judge with instructions. Fed. R. Civ. P. 72(b)(3).

12          In this case, Lloyd fails to establish any error in the R&R. His overlength

13   objections merely reiterate the allegations in his complaint and his disagreement with

14   Judge Fricke’s conclusion that he fails to state a claim. The Court agrees with the R&R

15   that Lolyd fails to provide sufficient allegations to establish a claim for either a violation

16   of his due process rights as a pretrial detainee or a violation of the Americans with

17   Disabilities Act. Therefore, the Court having considered the R&R, Lloyd’s objections,

18   and the remaining record, does hereby find and order as follows:

19          (1)    Lloyd’s motion for a courtesy copy, Dkt. 127, is DENIED;

20          (2)    The R&R is ADOPTED;

21          (3)    Defendants’ motion to dismiss is GRANTED;

22          (4)    Lloyd’s in forma pauperis status shall continue for purposes of appeal; and


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 1         (5)   The Clerk shall enter a JUDGMENT and close the case.

 2         Dated this 18th day of September, 2020.

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                                            A
                                            BENJAMIN H. SETTLE
                                            United States District Judge

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